    Case 6:05-cr-06161-DGL-JWF             Document 474      Filed 05/05/09     Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                   ORDER TO PRODUCE

                                                                   05-CR-6161L

                       v.

JOHN NICOLO,



                              Defendant.
________________________________________________


       Two months ago, on March 6, 2009, I entered an Order (Dkt. #451) scheduling the hearing

on restitution for May 11, 2009. The Court was just advised today, May 5, 2009, that arrangements

had not been made by the Government to bring the defendant John Nicolo, who is presently

incarcerated at FCI Elkton, to court for that hearing.

       IT IS HEREBY ORDERED that defendant, John Nicolo, currently housed at FCI Elkton,

Ohio, is ordered to be produced forthwith at the United States Courthouse, Rochester, New York on

Monday, May 11, 2009 at 8:30 a.m. for the restitution hearing.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge


Dated: Rochester, New York
       May 5, 2009.
